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[Dodmuf] [District Order Denying Motion for Unclaimed Funds]




                                           ORDERED.
Dated: April 7, 2017




                                    UNITED STATES BANKRUPTCY COURT
                                       MIDDLE DISTRICT OF FLORIDA
                                            ORLANDO DIVISION
                                            www.flmb.uscourts.gov



In re:                                                                    Case No. 6:13−bk−14017−ABB
                                                                          Chapter 13
Ainsley Reidhart




________Debtor*________/

                            ORDER DENYING MOTION FOR UNCLAIMED FUNDS

   THIS CASE came on for consideration of the Motion for Unclaimed Funds (the "Motion") filed by Ainsley B.
Reid−Hart on March 24, 2017 (Doc No. 47 ). The Motion fails to fulfill the requirements of 28 U.S.C. § 2042 and
the financial guidelines for the U.S. Bankruptcy Court, Middle District of Florida as follows:

       Proof of service upon the United States Attorney at Attn: Civil Process Clerk, 400 N. Tampa Street, Suite
3200, Tampa, FL 33602 was not provided.

       The last four digits of the claimant's Social Security Number or Tax Identification Number were not
provided.

         An Internal Revenue Service Form W−9 for the claimant was not provided.

         Form AO 213 for the non−individual claimant was not provided.

         A copy of the individual claimant's driver's license was not provided.

         A notarized signature of the claimant was not provided.

         Claimant's name, address and telephone number were not provided.

         No explanation of the right of the claimant to the unclaimed funds was provided.

         The Movant did not supply a notarized original Power of Attorney.
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      The Corporate claimant failed to provide a corporate power of attorney signed by an officer of the
company and a statement of the signing officer's authority.

        The Movant did not supply a certified copy of the decedent's death certificate and/or certified copies of all
probate documents that substantiate the right to act on behalf of the decedent's estate.

       The Movant did not supply sufficient documentation evidencing the transfer of the claim or proof of
purchase/sale of the assets.

        The amount of funds requested does not match the amount held in the court registry.

        There are no funds on deposit in the name of the movant.

        Other : Please see our website at the following link for the proper motion and requirements.
http://www.flmb.uscourts.gov/unclaimed_funds/

   Accordingly, it is

   ORDERED:

   That the Motion for Payment of Unclaimed Funds filed by Ainsley Reid−Hart, $4,000.00 is denied.



The Clerk's office is directed to serve a copy of this order on interested parties.
*All references to "Debtor" shall include and refer to both of the debtors in a case filed jointly by two individuals.
